                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

TERRY LYNN KING,                                    )
                                                    )
       Plaintiff,                                   )      CAPITAL CASE
                                                    )
v.                                                  )      Case No. 3:18-cv-01234
                                                    )
LISA HELTON, et al.,                                )      JUDGE CAMPBELL
                                                    )
       Defendants.                                  )


DONALD MIDDLEBROOKS,                                )
                                                    )
       Plaintiff,                                   )      CAPITAL CASE
                                                    )
v.                                                  )      Case No. 3:19-cv-01139
                                                    )
LISA HELTON, et al.,                                )      JUDGE CAMPBELL
                                                    )
       Defendants.                                  )


                             DEFENDANTS’ STATUS UPDATE


       Pursuant to this Court’s orders (King, D.E. 227; Middlebrooks, D.E. 78), Defendants

hereby provide notice to the Court regarding the status of corrective actions to comply with the

recommendations in the Report and Findings of the Tennessee Lethal Injection Protocol

Investigation (“Report”) and Governor Lee’s directives. (Exhibit 1.)

       Governor Bill Lee has appointed Mr. Frank Strada as the new Commissioner for the

Tennessee Department of Correction (“TDOC”). Commissioner Strada has appointed Ms. Jen

Brenner as General Counsel for TDOC.

       TDOC has undertaken a review and assessment of the Report. This assessment includes a

review of applicable policies, procedures and personnel involved in the lethal injection process.


                                               1
 Case 3:19-cv-01139        Document 80       Filed 05/01/23      Page 1 of 3 PageID #: 1033
TDOC is currently in the process of revising Tennessee’s lethal injection protocol in light of the

Report and the Governor’s directives. The revision of the protocol is a priority, and is active and

ongoing, but the Commissioner is currently not prepared to provide a date when a new lethal

injection protocol will be promulgated.

                                                            Respectfully submitted,

                                                            JONATHAN SKRMETTI
                                                            Attorney General and Reporter

                                                            s/ Scott C. Sutherland
                                                            SCOTT C. SUTHERLAND (29013)
                                                            Deputy Attorney General


                                                            DEAN ATYIA (039683)
                                                            MIRANDA JONES (36070)
                                                            CODY N. BRANDON (037504)
                                                            JOHN R. GLOVER (037772)
                                                            Assistant Attorneys General
                                                            Law Enforcement and
                                                            Special Prosecutions Div.
                                                            P.O. Box 20207
                                                            Nashville, Tennessee 37202-0207
                                                            Off. (615) 532-7688
                                                            Fax (615) 532-4892
                                                            Scott.Sutherland@ag.tn.gov
                                                            Dean.Atyia@ag.tn.gov
                                                            Miranda.Jones@ag.tn.gov
                                                            Cody.Brandon@ag.tn.gov
                                                            John.Glover@ag.tn.gov
                                                            Counsel for Defendants




                                                2
 Case 3:19-cv-01139        Document 80        Filed 05/01/23      Page 2 of 3 PageID #: 1034
                               CERTIFICATE OF SERVICE
       I certify that on May 1, 2023, a copy of the foregoing was filed and served via the Court’s

CM/ECF system on the following counsel for Middlebrooks:

Amy Harwell                                         Nashville, TN 37203
Houston Goddard                                     615-695-6906
Katherine Dix                                       Amy_Harwell@fd.org
Katheryn Thomas                                     houston_goddard@fd.org
Kelley Henry                                        Katherine_Dix@fd.org
Marshall Jensen                                     kit_thomas@fd.org
Richard Tennent                                     Kelley_Henry@fd.org
Federal Public Defender’s Office (MDTN)             Marshall_Jensen@fd.org
810 Broadway, Suite 200,                            Richard_Tennent@fd.org

And on the following counsel for King:

Alex Kursman                                        Bass, Berry & Sims 150 Third Ave. South
Lynne Leonard                                       Nashville, TN 37201
Anastassia Baldridge                                (615) 742-6200
Hayden Nelson-Major                                 desquivel@bassberry.com
Assistant Federal Defenders                         smiller@bassberry.com
Federal Community Defender for the E.D.             jeremy.gunn@bassberry.com
Penn.                                               michael.tackeff@bassberry.com
Suite 545 West, The Curtis
601 Walnut St.                                      Alice Haston
Philadelphia, PA 19106                              Amy Rao Mohan
(215) 928-0520                                      Christopher C. Sabis
alex_kursman@fd.org                                 Sherrard Roe Voight & Harbison, PLC
lynne_leonard@fd.org                                150 Third Ave. South
ana_baldridge@fd.org                                Suite 1100
hayden_nelson-major@fd.org                          Nashville, TN 37201
                                                    (615) 742-4539
David Esquivel                                      ahaston@srvhlaw.com
Sarah Miller
                                                    amohan@srvhlaw.com
Jeremy Gunn
                                                    csabis@srvhlaw.com
Michael Tackeff




                                                            s/ Scott C. Sutherland
                                                            SCOTT C. SUTHERLAND




                                               3
 Case 3:19-cv-01139        Document 80       Filed 05/01/23      Page 3 of 3 PageID #: 1035
